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EXHIBIT DD
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Geraldine A. Wyle, State Bar No. 089735

Jeryll S. Cohen, State Bar No. 125392 gE OY

Jeffrey D. Wexler, State Bar No. 132256 F I LL HK D
Vivian L. Thoreen, State Bar No. 224162 LOS ANGELES SUPERIOR COURT
LUCE, FORWARD, HAMILTON & SCRIPPS LLP -

601 South Figueroa Street, Suite 3900 FEB 04 2008

Los Angeles, California 90017
Telephone No.: 213.892.4992
Fax No.: 213.892.7731

JOHN A. Cinanixe, CLERK
tock
BY ANDREA MURDOCK, DEPUTY

Attorneys for James P. Spears,
Temporary Conservator of the Person and
Temporary Co-Conservator of the Estate

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Person of Case No. BP 108870

BRITNEY JEAN SPEARS, DECLARATION OF JAMES P. SPEARS
IN SUPPORT OF PETITION FOR
APPOINTMENT OF TEMPORARY
Proposed Conservatee. CONSERVATOR

Date: February 4, 2008

Time: 1:30 p.m.

Dept.: 9

Judge: Hon. Reva Goetz, Judge Pro Tem

I, James P. Spears, declare as follows:
1. The statements set forth in this Declaration are based on my own knowledge. If

called as a witness I could and would testify competently to them.

a recovering alcoholic. At Britney’s urging, in 2004, I entered a rehab facility in Los Angeles

County and have been sober since that time. I am an active member of Alcoholics Anonymous.

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2. The purposed of this Declaration is to provide the Court with full disclosure. I am

DECLARATION OF JAMES P. SPEARS IN SUPPORT OF PETITION FOR APPOINTMENT OF
TEMPORARY CONSERVATOR

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2 I declare under penalty of perjury under the laws of the State of California that the

3 || foregoing is true and correct. Executed on February 4, 2008 at Los Angeles, California.

Wars Pfosata)
V

James P. Spears

201013815.)

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DECLARATION OF JAMES P. SPEARS IN SUPPORT OF PETITION FOR APPOINTMENT OF
TEMPORARY CONSERVATOR

